
CahutheRS, J.,
delivered the opinion of the Court.
This bill was filed to enforce the vendor’s lien for the balance of the purchase money on a lot in Knoxville. The sale was for $2050, of which there is yet due, about $1400, the balance having been paid. The bill is resisted upon the allegation that complainants cannot make a good title.
That is not a good defence to a bill for the sale of the lot, but it would be to the payment, of any portion of the purchase money, which might remain after selling the lot, and applying the proceeds. It would also be a good ground, if made out, upon which to recover back the amount of the consideration which had been paid by the defendants. But these questions do not now properly come up for adjudication. The only point now, is, whether it is necessary for the plaintiff to file a good title to the lots, and the Court should pass upon it before the prayer of the bill, simply to sell and appropriate the proceeds of the property to the payment of the debt agreed to be paid for it. All that is demanded by the complainants, is, that the lot with such title as they have, be sold to pay the debt. As between the parties themselves, there can be no legal objection'to this. It will not affect the title of any body else, and so long as the vendor asks nothing more than the application of the lot sold to his debt, there can be no injury to the vendees, and it is not material to them whether the title is good or not.
No question can be made by them as to the title in resistance of the application, simply to sell the property. If any grounds exist for a controversy on that subject, they must be presented by a cross-bill, or in some other mode, by the ven-dees.
The complainant files his title, but there was no reference made upon it, nor does the Court consider of it in the decree for a sale of the lot.
The decree will be affirmed and remanded for execution, but *267it will be confined to the sale of rhe lot, without a decree against the defendants for any balance of the debt, Avhich may remain after the application of the proceeds of the sale; as to that, there will be no adjudication.
